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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

GLENDA SUE GARDNER, Individually
and As Personal Representative of The
Estate of Jacob Gardner; and DAVID                          4:21CV3145
GARDNER,

                     Plaintiffs,                              ORDER

        vs.

FREDERICK D. FRANKLIN, DONALD
W. KLEINE,     DOUGLAS COUNTY
ATTORNEY'S OFFICE, Douglas County,
Nebraska; and DOES 1 & 2,

                     Defendants.



        IT IS ORDERED that the motion to withdraw filed by Daniel J. Gutman, as
counsel of record for Defendants, Frederick D. Franklin and Does 1 & 2 (Filing No.
25), is granted. Daniel J. Gutman shall no longer receive electronic notice in this
case.


        Dated this 3rd day of February, 2022.

                                                BY THE COURT:

                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
